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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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Nai He Li

                Plaintiff,

                                                                                  SCHEDULING ORDER:

Moon Mode Design Fashion, Inc., et al.                                            22-cv-00793 (HG)(SJB)



                         Defendant.
------------------------------------------------------------------------X
BULSARA, United States Magistrate Judge:
The parties shall file all future submissions electronically and will ONLY receive correspondence from the
Court electronically. It is the responsibility of the parties to confirm that their contact information and e-
mail addresses are correct at the time of filing the complaint or answer, as well as regularly monitor the
status of their cases in order to avoid missing court appearances or deadlines set by the Court.

        An initial conference will be held in this case at 12:30 P.M. on 10/28/2022

before United States Magistrate Judge Sanket J. Bulsara, at 225 Cadman Plaza, East,

Brooklyn, New York. The parties are directed to call the toll-free number 877-336-1274.

The access code is 6534420. Counsel for all parties must be present.

        Plaintiff’s counsel is requested to confirm with defendant’s counsel

that all necessary participants are aware of this conference. In the event an

answer or notice of appearance by defendant’s counsel has not yet been filed at the time

this Order is received, plaintiff’s counsel is to notify counsel for the defendant of this

conference. Requests for adjournments will not be considered unless made in

accordance with Chambers Individual Practices.
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                              Rules Governing Discovery

1.     Prior to the conference, the parties are to comply with the

requirements of Fed. R. Civ. P. 26(f). The Court expects the parties to begin the

discovery process before the initial conference. For example, Rule 26(a)(1)(C) requires

parties to make initial disclosures at or within 14 days after the parties’ Rule 26(f)

conference. And a Rule 26(f) conference must be held at least 21 days before the initial

conference or before the Court’s Rule 16(b) order is due. In addition to the matters

specified in Fed. R. Civ. P. 16(b) and 26(f), counsel shall also discuss (1) the scope of any

anticipated electronic discovery, the preservation of electronically stored data, and the

cost of locating, maintaining and producing that data, and (2) whether any party will

rely upon expert testimony, and if so, whether counsel are able to reach an agreement

on how material exchanged between counsel and any expert witness will be treated, and

in particular whether draft expert reports and written and electronic communications

between expert witnesses and counsel will be retained.

       Separately, parties may serve document requests prior to the Rule 26(f)

conference, and the requests are deemed served on the date of the conference. See Rule

26(d)(2) and 34(b)(2)(A).

2.     The parties are directed to prepare a proposed Rule 26(f) Report. To

assist in this process, the Court has included in this Order a “Rule 26(f) Report” that

must be completed and submitted to the Court via ECF, at least two days prior to the

conference. The Worksheet sets forth a date for completion of all discovery. The parties

are directed to establish reasonable interim discovery deadlines to meet the needs of

their case.
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         Phase I Discovery consists of the information that parties believe needs to be

exchanged before a reasoned settlement discussion can take place. In some cases this

may consist of nothing more than initial disclosures; in other cases, more extensive

exchanges of information may be required. This phase of discovery should be carefully

tailored to avoid expense and delay and with the recognition that parties may have to

consider resolution with incomplete information. This phase of discovery will

presumptively require no more than 60 days.

         Phase II Discovery represents the balance of discovery required to prepare for

trial.

         At the conference, the Court will consider the parties’ suggested deadlines and,

upon consideration of the rules and practices of the assigned District Judge, enter an

appropriate scheduling order. The parties should discuss their discovery needs

thoroughly in advance of the conference so that the Court can order a realistic schedule.

Should the parties believe the case requires a non-phased discovery approach, the

parties shall submit a full report as required under Rule 26 and a proposed schedule for

the Court’s consideration. Once a scheduling order has been entered with the parties’

input, discovery deadlines will be enforced and amendments to the schedule will be

considered only for good cause.

3.       Cooperation During Discovery. As required by Local Civil Rule 26.4, the

parties and counsel are expected to work cooperatively during all aspects of discovery

including in matters relating to scheduling and timing of various discovery procedures.

Discovery requests shall be read reasonably in the recognition that the attorney serving

them generally does not have the information being sought and the attorney receiving

them generally does have such information or can obtain it from the client.
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4.   Finally, the parties should also review the attached information sheet regarding

the Court’s Alternative Dispute Resolution Program.


SO ORDERED.
                                               /s/ Sanket J. Bulsara
                                              SANKET J. BULSARA
                                              United States Magistrate Judge

July 13, 2022
Brooklyn, New York
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                                 RULE 26(f) REPORT

Case No.:                                         Date of Initial Conference:


Plaintiff(s):



Defendants(s):



                                   Phase 1 Discovery

Phase 1 discovery entails reciprocal and agreed upon document production and other
discovery necessary for a reasoned consideration of settlement.

   1. Date for completion of automatic disclosures required by Rule 26(a)(1) of the
      Federal Rules of Civil Procedure, if not yet made: ________________. See
      Fed. R. Civ. P. 26(a)(1)(C) (“Unless otherwise agreed upon, the date for
      completion will be 14 days following the Rule 26(f) conference.”).

       (Alternatively, of because of the nature of the case, initial disclosures are not
       required check here: ____ ).

   2. Date for exchange of discovery necessary for reasoned consideration of
      settlement: __________. (This includes, where appropriate, executions of
      HIPAA records authorizations. Presumptively 60 days after initial conference).1

   3. Settlement Conference and Mediation

           a. Option 1: Date for initial settlement conference: ____________. (The
              parties should propose a date approximately 10-15 days after the
              completion of document exchange. Should the settlement conference be
              adjourned for any reason, the parties must still proceed forward Phase 2
              discovery, unless the parties make a motion and the Court grant the
              extension of the existing deadlines.)

           b. Option 2: The parties wish to be referred to the EDNY Mediation Program
              for mediation to be completed in the next 60 days: _________.



       1 Should the parties not agree or absent a court order to the contrary, following
the initial conference, the presumptive dates shall constitute the Rule 16 scheduling
order in this case.
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                                 Phase 2 Discovery

Phase 2 discovery is post-settlement conference discovery that takes the parties to
dispositive motion practice.

   1. Because this is an appeal from final agency action, discovery is not required
      because the parties because intend to move directly to dispositive motion practice
      after the production of the certified administrative record. If so, please check
      here: ____, and proceed to Question 10. Otherwise, proceed to Question 2.

   2. Time for amendment of the pleadings to add claims or join additional parties:
      _____________. (Presumptively 15 days post settlement conference.)

   3. If additional interrogatories beyond the 25 permitted under the federal rules are
      needed, the maximum number permitted by plaintiff(s)____ and defendant(s)
      ____.

   4. Number of depositions by plaintiff(s) of: _____parties; _____non-parties.

   5. Number of depositions by defendant(s) of: _____parties; _____non-parties.

   6. Will any independent medical examinations (IMEs) be
      conducted? YES/NO. Time frame for any IMEs (or describe if additional
      recovery or surgical intervention required before IMEs can be scheduled):

   7. Date for completion of fact discovery: ___________. (Presumptively 5
      months after settlement conference.)

   8. Number of expert witness of plaintiff(s): _______ medical; _______ non-
      medical. Date for exchange of expert report(s): _____________________.

   9. Number of expert witness of defendant(s): ________medical; _______ non-
      medical. Date for expert report(s): _________________.

   10. Date for completion of expert discovery: _____________. (Presumptively 30
       days following the final exchange of expert reports).

   11. Final date to take the first step in dispositive motion practice: ________.
       (Parties are directed to consult the District Judge’s Individual Rules regarding
       such motion practice. Presumptively 30 days post completion of expert
       discovery).

   12. Contemplated dispositive motions:

          a. Plaintiff(s):




                                           2
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         b. Defendant(s):


  13. Have counsel discussed the existence of electronically stored information, and
      discussed the location and production of such information, as required by Rule
      26? YES/NO. Have the parties entered into an ESI protocol? YES/NO.
      Alternatively, if no ESI protocol is necessary because of the limited amount of ESI
      in the case: ______).

  14. Date for submission of any protective order for Court approval: _______.

  15. Details on Rule 26(f) meeting

         a. Date meeting held:


         b. Plaintiff(s)’ representative(s) who participated:


         c. Defendant(s)’ representative (s) who participated:


  16. For cases where basis of subject matter jurisdiction is diversity:

         a. Is any party an LLC or partnership? YES/NO. If yes, list all members of
            LLC or partnership and their respective states of citizenship:


         b. Citizenship of each plaintiff:


         c. Citizenship of each defendant:


  17. Do the parties consent to trial before a magistrate judge pursuant to 28 U.S.C
      § 636(c)? YES/NO. (Answer no if any party declines to consent without
      indicating which party has declined.)

  18. Please list counsel for each side that will be appearing at the initial conference:




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i ns ur a n c e cl ai ms fil e d b y t h os e aff e ct e d b y t h e s u p er st or m.
                                                                                         F or m or e inf or m ati o n a b o ut t h e E D N Y A D R Pr o gr a m visit
T h e E D N Y m ai nt ai ns a list of n e utr als w h o ar e tr ai n e d a n d           htt ps:// w w w. n y e d. us c o urts. g o v/ alt er n ati v e‐ dis p ut e‐
q u alifi e d t o assist p arti es i n r es ol vi n g m att ers r el at e d t o          r es ol uti o n
d a m a g e c a us e d b y H urri c a n e S a n d y.
